              Case 2:02-cr-00213-MCE Document 409 Filed 11/05/10 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      No. CR S-02-0213-MCE-CMK

12                  Respondent,

13          vs.                                     ORDER

14   MIGUEL HERNANDEZ-MUNGUIA,

15                  Movant.

16                                           /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court is movant’s

19   request for a certificate of appealability (Doc. 408).

20                  Movant has timely filed a notice of appeal of this court's denial of his motion

21   under 28 U.S.C. § 2255. Before movant can appeal this decision, a certificate of appealability

22   must issue under 28 U.S.C. § 2253(c). See Fed. R. App. P. 22(b); see also 28 U.S.C. § 2255. A

23   certificate of appealability may issue under 28 U.S.C. § 2253 “only if the applicant has made a

24   substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The court

25   must either issue a certificate of appealability indicating which issues satisfy the required

26   showing or must state the reasons why such a certificate should not issue. See Fed. R. App. P.

                                                       1
              Case 2:02-cr-00213-MCE Document 409 Filed 11/05/10 Page 2 of 2




 1   22(b). For the reasons set forth in the magistrate judge’s December 28, 2008, findings and

 2   recommendations, movant has not made a substantial showing of the denial of a constitutional

 3   right.

 4                  Accordingly, IT IS HEREBY ORDERED that movant’s request for a certificate of

 5   appealability (Doc. 408) is denied.

 6
      Dated: November 5, 2010
 7
                                                  ________________________________
 8                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                    2
